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i. cm.m!s'r.miv. conn 2. PERSON REPRESENTE:) voUcHER Nd`ii/iaER
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1 m CAsa/MATTER 0F remission s. PAYMENT cATEGoRY 9. TYPE PERSON REPRESENTED 10. ig:il ii£tsn§r§]'noiv rings di 4 f~-j-L.,`.
st l \[`_l.ll: tJIt
U.S. v. Fcrguson Felony Adu]t Defendant Cnn'Gioal pape _ c __
]l. OFFENSE(S] CH ARGED (Cite U.S. Code, Title & Section) lfmore than orie offense. list (up to flve] major offenses charged, according to severity of oHense. 4 `J r- iii 3 ' f 5

i) 21 841A=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE, OR DISPENSE

 

 

   
 

 

 

12. ATTORNEY'S NAME irst Name, M.l., l.asl Name,incl\lding any sufl`u) 13. COURT ORDER L'-i..`£i"`; § i _7`
AND MAILiNG ADDRE s 0 Appniiiong comm |Il c co-coimi¢i W .~'\ `\-' _‘~ :.r~
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g = ~ . = .
40 S Ma]'n St i:l P Sobs For Panel Attorney § Y Standby Cnunse.l ‘
SLlitC 1540 Prlar Attorney's Name:
ME,mphiS l N 3 81 03 Appointment Date:

 

Because the ahove~named person represented has testified under oath or has
otherwise satisfied this court that he or she (1] is financially unable to employ counsel and
T i l_i. Number: (901) 544-933 9 [2) does not wish to waive counsel, and because the interests oi']ustice so require, the

attorney whose name appears in item 12 is appointed to represent this person in this case,
14. l\` AME AND MAILING AI)DRESS OF LA'W FI'RM (naly provide per instructions) or

m Other(Se tructions) . k J/JAn/Uk

 

 

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ith HU|€ 55 and/lof 32{b) FRCrP nn - . __ ._~M- Repayment or partial repayment ordered fromthe person represented forthisserv'ice al

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time ofappointmeiic. \:i Y'E.S Ei NO

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19. CERTIFlCA'HON OF ATTORNEY¢'PAYEE FOR THE PERIOD O F SERVICE 20. AP‘POINTMENT TERMINAT[ON DATE 21. CASE DISPO SlTION
-. IF OTHER THAN CASE COMPLET]ON
l‘RCM TO
22. CLAIM STATUS ij Final Payment [j liiterim Paymeist Numiier ___ I] Supplemental Paymenc
Have you previously applied to the court for compensation andi'or remimbursement for this case? I:l YES m NO II' yes, were you paid? \:i YES \:i NO
Other than from the couri, have you, or to your knowledge has anyone else, received payment (compensation or anything or value] from any other source in connection with this
representation'.' ij YES m NO ll'yes,give details on additional sneets.

I swear orolTirm the truth or correctness of the above statementsl

 

 

Signature ol'Attorney

 

 

     

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23. lN COURT COMP. n 14. OUT OF COURT COMP. 25. TAVEL EXPENSES 26. OTHER EXPENSES 27. TOTAL AMT. APPRICER.T
28. SIGNATUR.E OF THE PRESID|NG JUDICIAL OFFICER DATE ZBa. .IUDCE l MAG. JUDGE CODE
29. lN COURT COM P. 3{]. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. GTHER EXPENSES ]3. TOTA.L A.M'I`. APPROVED

34. Snlp(’:,`lr"ol,"ae'gliil::lu(s)§lio{r:tlill:§§l:`lgg¢ft}.§,es€hg§.l§n']‘;£? APP EALS (OR DELEGATE) l*aymeot DATE 343l .IUDGE CODE

 

 

 

 

 

 
 

UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

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This notice confirms a copy ofthc document docketed as number 50 in
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Honorablc J. Breen
US DISTRICT COURT

